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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 LACIE EDON,                                   )
                                               )
                Plaintiff,                     )
                                               )
         vs.                                   )       Civil Action No. 1:24-cv-02195-TWP-KMB
                                               )
 PNC BANK, in its own capacity and as          )
 Successor to NATIONAL CITY BANK,              )
                                               )
                Defendant.                     )

                                     CASE MANAGEMENT PLAN

 I.      Parties and Representatives

         A.     Lacie Edon (“Plaintiff”) and PNC Bank, N.A. (erroneously named as PNC Bank,
                in its own capacity and as Successor to National City Bank) (“Defendant”)

         B.     Counsel for Plaintiff:

                Lewis S. Wooton (#26650-49)
                WOOTON HOY, LLC
                13 North State Street, Suite 241
                Greenfield, IN 46140
                (317) 318-1685
                lewis@wootonhoylaw.com

                Counsel for Defendant:

                Mark D. Kundmueller (#28427-71)
                TROUTMAN PEPPER LOCKE, LLP
                222 Central Park Avenue, Suite 2000
                Virginia Beach, VA 23462
                (757) 687-7586

         Counsel shall promptly file a notice with the Clerk if there is any change in this
         information.




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               II.     Jurisdiction and Statement of Claims

                             A. The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332 because
                             this action involves citizens of different states and the amount in controversy, without
                             interest and costs, exceeds the value specified by 28 U.S.C. § 1332
                             ($75,000).

                             B. Plaintiff’s Statement: Defendant converted funds belonging to Plaintiff and
                             breached its fiduciary duty to Plaintiff when it wrongfully deposited funds belonging
                             to Plaintiff into the wrong account and allowed funds to be wrongfully used by
                             Defendant. Defendant knew that the funds belonged to Plaintiff and were to be
                             utilized for Plaintiff’s benefit, but nevertheless deposited the funds into personal
                             accounts of Plaintiff’s guardians and the funds were thereafter used for the benefit of
                             the guardians, and not for Plaintiff. Defendant assisted and conspired with Plaintiff’s
                             guardians to convert Plaintiff’s funds and to breach the fiduciary duties owed to
                             Plaintiff.

                             C. Defendant’s Statement: Plaintiff’s parents received two checks to settle a lawsuit
                             involving injuries to the Plaintiff. Without Defendant’s knowledge as to any
                             restrictions on deposit or intent of the parties to this underlying lawsuit, Plaintiff’s
                             parents deposited these checks into their personal checking account rather than a
                             restricted account that Plaintiff’s parents apparently should have established but did
                             not with Defendant. Defendant had no knowledge that Plaintiff’s parents committed
                             any wrongful acts, and Plaintiff never explains how Defendant would have obtained
                             such knowledge. Plaintiff cannot maintain any claims against Defendant as a matter of
                             law as Defendant owes no cognizable duties or obligations to Plaintiff under either the
                             common law or the Uniform Commercial Code.

              III.     Pretrial Pleadings and Disclosures

                       A.       The parties shall serve their Fed. R. Civ. P. 26 initial disclosures on or before
                                April 11, 2025 May 23, 2025.

                       B.       Plaintiff shall file preliminary witness and exhibit lists on or before April 18, 2025
                                June 6, 2025.

                       C.       Defendant shall file preliminary witness and exhibit lists on or before April 25,
                                2025 June 13, 2025.
Sec. III. E. The
Parties shall submit D.         All motions for leave to amend the pleadings and/or to join additional parties shall
(not file) courtesy             be filed on or before May 9, 2025 July 11, 2025.
copies of their
respective demand E.            Plaintiff shall serve Defendant (but not file with the Court) a statement of special
and response at the             damages, if any, and make a settlement proposal, on or before May 9, 2025 July
time of service via             31, 2025. Defendant shall serve on the Plaintiff (but not file with the Court) a
email to                        response thereto within 30 days after receipt of the proposal.
JudgeBarrChambers
@insd.uscourts.gov.                                               2
There is no need to
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follow the email
with a hard copy.
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         F.    Except where governed by paragraph (G) below, expert witness disclosure
               deadlines shall conform to the following schedule: Plaintiff shall disclose the
               name, address, and vita of any expert witness, and shall serve the report required
               by Fed. R. Civ. P. 26(a)(2) on or before December 12, 2025. Defendant shall
               disclose the name, address, and vita of any expert witness, and shall serve the
               report required by Fed. R. Civ. P. 26(a)(2) on or before 30 days after Plaintiff
               serves her expert disclosure, or if Plaintiff has disclosed no experts, Defendant
               shall make its expert disclosure on or before January 12, 2026.

         G.    Notwithstanding the provisions of paragraph (F), above, if a party intends to use
               expert testimony in connection with a motion for summary judgment to be filed by
               that party, such expert disclosures must be served on opposing counsel no later
               than 90 days prior to the dispositive motion deadline. If such expert disclosures
               are served the parties shall confer within 7 days to stipulate to a date for
               responsive disclosures (if any) and completion of expert discovery necessary for
               efficient resolution of the anticipated motion for summary judgment. The parties
               shall make good faith efforts to avoid requesting enlargements of the dispositive
               motions deadline and related briefing deadlines. Any proposed modifications of
               the CMP deadlines or briefing schedule must be approved by the Court.

         H.    Any party who wishes to limit or preclude expert testimony at trial shall file any
               such objections 120 days prior to trial. on or before February 12, 2026. Any
               party who wishes to preclude expert witness testimony at the summary judgment
               stage shall file any such objections with their responsive brief within the briefing
               schedule established by S.D. Ind. L.R. 56-1.

         I.    All parties shall file and serve their final witness and exhibit lists on or before
               February 13, 2026. This list should reflect the specific potential witnesses the
               party may call at trial. It is not sufficient for a party to simply incorporate by
               reference “any witness listed in discovery” or such general statements. The list of
               final witnesses shall include a brief synopsis of the expected testimony.

         J.    Any party who believes that bifurcation of discovery and/or trial is appropriate
               with respect to any issue or claim shall notify the Court as soon as practicable.

         K.    Discovery of electronically stored information (“ESI”).
               The parties do not believe that a substantial amount of ESI will be produced in the
               case.

                       (1) The parties agree that, unless otherwise agreed by the parties or ordered
                           by the Court, all electronic mail shall be produced in
                           its native format and all other electronically stored information
                           will be produced in .pdf format. However, upon either parties’


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                           request, the native format of a particular document(s)
                           (including metadata) will be produced.

                       (2) The parties have not identified other issues that may be
                           relevant to discovery in the case.

                       (3) In the event that a document protected by the attorney-client
                           privilege, the attorney work product doctrine or other
                           applicable privilege or protection is unintentionally produced
                           by any party to this proceeding, the producing party may
                           request that the document be returned. In the event that such a
                           request is made, all parties to the litigation and their counsel
                           shall promptly return all copies of the document in their
                           possession, custody, or control to the producing party and shall
                           not retain or make any copies of the document or any
                           documents derived from such document unless the receiving
                           party believes in good faith that the produced document is not
                           covered by a privilege. If such a document is retained by the
                           receiving party, the document shall be maintained for
                           attorney’s eyes only and the parties will work together to
                           contact the Court to resolve the issue of privilege. The
                           producing party shall promptly identify the returned document
                           on a privilege log. The unintentional disclosure of a privileged
                           or otherwise protected document shall not constitute a waiver
                           of the privilege or protection with respect to that document or
                           any other documents involving the same or similar subject
                           matter.

                       (4) The parties agree that documents shall not be produced absent
                           the entry of a mutually agreeable protective order.

 IV.     Discovery 1 and Dispositive Motions

         Due to the time and expense involved in conducting expert witness depositions and other
         discovery, as well as preparing and resolving dispositive motions, the Court requires
         counsel to use the CMP as an opportunity to seriously explore whether this case is


 1   The term “completed,” as used in Section IV.C, means that counsel must serve
     their discovery requests in sufficient time to receive responses before this
     deadline. Counsel may not serve discovery requests within the 30-day period
     before this deadline unless they seek leave of Court to serve a belated request
     and show good cause for the same. In such event, the proposed belated discovery
     request shall be filed with the motion, and the opposing party will receive it with
     service of the motion but need not respond to the same until such time as the
     Court grants the motion.
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                      appropriate for such motions (specifically including motions for summary judgment),
                      whether expert witnesses will be needed, and how long discovery should continue. To
                      this end, counsel must select the track set forth below that they believe best suits this
                      case. If the parties are unable to agree on a track, the parties must: (1) state this fact in
                      the CMP where indicated below; (2) indicate which track each counsel believes is most
                      appropriate; and (3) provide a brief statement supporting the reasons for the track each
                      counsel believes is most appropriate. If the parties are unable to agree on a track, the
                      Court will pick the track it finds most appropriate, based upon the contents of the CMP
                      or, if necessary, after receiving additional input at an initial pretrial conference.

                      A.     Does any party believe that this case may be appropriate for summary judgment or
                             other dispositive motion? If yes, the party(ies) that expect to file such a motion
                             must provide a brief statement of the factual and/or legal basis for such a motion.
                             [Note: A statement such as, “Defendant will seek summary judgment because no
                             material facts are in dispute,” is insufficient. Such a statement does not indicate to
                             the Court that the parties used the CMP as an opportunity to seriously explore
                             whether this case is appropriate for summary judgment or other dispositive
                             motion. However, the failure to set forth a basis for a dispositive motion in the
                             CMP will not bar a party from raising this argument at the motions stage.]
                             Dispositive motions are anticipated.
                             Plaintiff intends to file a Motion for Summary Judgment based upon the following
                             undisputed facts: 1) Funds were issued by trust check to Plaintiff’s guardians, in
                             their capacity as guardians to be placed into an UTMA account at PNC Bank, 2)
                             PNC Bank knowingly and wrongfully deposited the finds into the guardians
                             personal account. Defendant has filed a dispositive motion alleging that the
                             alleged wrongful conduct above is not actionable.
                             Should the Court deny Defendant’s pending Motion to Dismiss, Defendant intends
If both Plaintiff and        to file a Motion for Summary Judgment based upon the following undisputed
Defendant intend to file     facts: (1) Funds were issued by trust check to Plaintiff’s guardians—not Plaintiff,
dispositive motions as that
                             (2) Plaintiff’s guardians never established or attempted to establish a restricted
deadline approaches, they
must file a proposed         trust account with Defendant, (3) Plaintiff’s guardians never informed Defendant
briefing schedule for cross- that they were obligated to establish a trust account for the Funds, and
motions for summary          (4) Plaintiff has no legally cognizable relationship with Defendant, including but
judgment at least 45 days not limited to any ordinary or fiduciary relationship. In addition, Defendant
before the dispositive       reserves the right to raise any arguments previously raised in its Motion to
                             Dismiss after the completion of discovery.
motions deadline.
                       B.    On or before July 18, 2025 September 19, 2025, and consistent with the
                             certification provisions of Fed. R. Civ. P. 11(b), the party with the burden of proof
                             shall file a statement of the claims or defenses it intends to prove at trial, stating
                             specifically the legal theories upon which the claims or defenses are based.

                       C.    Select the track that best suits this case:

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                        Track 1: No dispositive motions are anticipated. All discovery shall be
                completed by _________ [no later than 16 months from Anchor Date]. [Note:
                Given that no dispositive motions are anticipated, the parties should consider
                accelerating discovery and other pretrial deadlines to the extent practicable and
                suggest a substantially earlier trial date (Section VI). The Court encourages a
                track faster than the standard track in all cases in which dispositive motions are
                not anticipated].

                    X Track 2: Dispositive motions are expected and shall be filed by
                November 12, 2025; non-expert witness discovery and discovery relating to
                liability issues shall be completed by September 12, 2025; expert witness
                discovery and discovery relating to damages shall be completed by February 13,
                2026.

                        Track 3: Dispositive motions shall be filed by                [not later than
                13 months from the Anchor Date]; non-expert discovery shall be completed by
                __________; expert witness discovery shall be completed by                    .
                [Note: The Court provides Track 3 as an open option because it recognizes that
                there may be unusual cases for which special circumstances necessitate additional
                flexibility. However, the Court has found that Tracks 1 and 2 are appropriate in
                the large majority of cases, and therefore the parties must briefly state below the
                special circumstances justifying a departure from Tracks 1 and 2.]

                Absent leave of Court, and for good cause shown, all issues raised on summary
                judgment under Fed. R. Civ. P. 56 must be raised by a party in a single motion.


 V.      Pre-Trial/Settlement Conferences

         At any time, any party may call the Judge’s Staff to request a conference, or the Court
         may sua sponte schedule a conference at any time. The presumptive time for a settlement
         conference is no later than 30 days before the close of non-expert discovery. The parties
         are encouraged to request an earlier date if they believe the assistance of the
         Magistrate Judge would be helpful in achieving settlement. The parties recommend
         a settlement conference in September 2025.

 VI.     Trial Date       The District Judge will set a trial date on a timeline deemed appropriate by
                          the District Judge.
         The parties request a trial date in the July of 2026. The trial is by jury and is anticipated
         to take three (3) days. Counsel should indicate here the reasons that a shorter or longer
         track is appropriate. While all dates herein must be initially scheduled to match the
         presumptive trial date, if the Court agrees that a different track is appropriate, the case
         management order approving the CMP plan will indicate the number of months by which
         all or certain deadlines will be extended to match the track approved by the Court.


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 VII.    Referral to Magistrate Judge

               A. Case. At this time, all parties do not consent to refer this matter to the currently
                  assigned Magistrate Judge pursuant to 28 U.S.C. 636(c) and Fed. R. Civ. P. 73 for
                  all further proceedings including trial.

               B. Motions. The parties may also consent to having the assigned Magistrate Judge
                  rule on motions ordinarily handled by the District Judge, such as motions to
                  dismiss, for summary judgment, or for remand. If all parties consent, they should
                  file a joint stipulation to that effect. Partial consents are subject to the approval of
                  the presiding district judge.

 VIII. Required Pre-Trial Preparation

         A.        TWO WEEKS BEFORE THE FINAL PRETRIAL CONFERENCE, the
                   parties shall:

                   1.      File a list of trial witnesses, by name, who are actually expected to be
                           called to testify at trial. This list may not include any witnesses not on a
                           party’s final witness list filed pursuant to Section III.I.

                   2.      Number in sequential order all exhibits, including graphs, charts and the
                           like, that will be used during the trial. Provide the Court with a list of these
                           exhibits, including a description of each exhibit and the identifying
                           designation. Make the original exhibits available for inspection by
                           opposing counsel. Stipulations as to the authenticity and admissibility of
                           exhibits are encouraged to the greatest extent possible.

                   3.      Submit all stipulations of facts in writing to the Court. Stipulations are
                           always encouraged so that at trial, counsel can concentrate on relevant
                           contested facts.

                   4.      A party who intends to offer any depositions into evidence during the
                           party’s case in chief shall prepare and file with the Court and copy to all
                           opposing parties either:

                           a.      brief written summaries of the relevant facts in the depositions that
                                   will be offered. (Because such a summary will be used in lieu of
                                   the actual deposition testimony to eliminate time reading
                                   depositions in a question and answer format, this is strongly
                                   encouraged.); or

                           b.      if a summary is inappropriate, a document which lists the portions
                                   of the deposition(s), including the specific page and line numbers,
                                   that will be read, or, in the event of a video-taped deposition, the


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                               portions of the deposition that will be played, designated
                               specifically by counter-numbers.

                5.     Provide all other parties and the Court with any trial briefs and motions in
                       limine, along with all proposed jury instructions, voir dire questions, and
                       areas of inquiry for voir dire (or, if the trial is to the Court, with proposed
                       findings of fact and conclusions of law).

                6.     Notify the Court and opposing counsel of the anticipated use of any
                       evidence presentation equipment.

         B.     ONE WEEK BEFORE THE FINAL PRETRIAL CONFERENCE, the
                parties shall:

                1.     Notify opposing counsel in writing of any objections to the proposed
                       exhibits. If the parties desire a ruling on the objection prior to trial, a
                       motion should be filed noting the objection and a description and
                       designation of the exhibit, the basis of the objection, and the legal
                       authorities supporting the objection.

                2.     If a party has an objection to the deposition summary or to a designated
                       portion of a deposition that will be offered at trial, or if a party intends to
                       offer additional portions at trial in response to the opponent’s designation,
                       and the parties desire a ruling on the objection prior to trial, the party shall
                       submit the objections and counter summaries or designations to the Court
                       in writing. Any objections shall be made in the same manner as for
                       proposed exhibits. However, in the case of objections to video-taped
                       depositions, the objections shall be brought to the Court’s immediate
                       attention to allow adequate time for editing of the deposition prior to trial.

                3.     File objections to any motions in limine, proposed instructions, and voir
                       dire questions submitted by the opposing parties.

                4.     Notify the Court and opposing counsel of requests for separation of
                       witnesses at trial.


 Respectfully submitted,

  /s/ Lewis S. Wooton                                 /s/ Mark D. Kundmueller
  Lewis S. Wooton (#26650-49)                         Mark D. Kundmueller (#28427-71)
  WOOTON HOY, LLC                                     TROUTMAN PEPPER LOCKE, LLP
  13 North State Street, Suite 241                    222 Central Park Avenue, Suite 2000
  Greenfield, IN 46140                                Virginia Beach, VA 23462
  (317) 318-1685                                      (757) 687-7586
  lewis@wootonhoylaw.com                              mark.kundmueller@troutman.com

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  Counsel for Plaintiff                       Counsel for Defendant

 ******************************************************************************


                                                              May 12, 2025
                   PARTIES APPEARED IN PERSON/BY COUNSEL ON ______________
               x
                   FOR A PRETRIAL/STATUS CONFERENCE.

                   APPROVED AS SUBMITTED.

                   APPROVED AS AMENDED.
               x   APPROVED AS AMENDED PER SEPARATE ORDER.

                   APPROVED, BUT ALL OF THE FOREGOING DEADLINES ARE
                   SHORTENED/LENGTHENED BY ______________ MONTHS.


                   APPROVED, BUT THE DEADLINES SET IN SECTION(S)
                   _______________ OF THE PLAN IS/ARE SHORTENED/LENGTHENED
                   BY ______________ MONTHS.


                   THIS MATTER IS SET FOR TRIAL BY                   ON
                   _____________________________. FINAL PRETRIAL CONFERENCE IS
                   SCHEDULED FOR ____________________________________ AT
                   .M., ROOM                  .


                   A SETTLEMENT/STATUS CONFERENCE IS SET IN THIS CASE FOR
                   AT        .M. COUNSEL SHALL APPEAR:

                                          IN PERSON IN ROOM                  ; OR

                                           BY TELEPHONE, WITH COUNSEL FOR
                             INITIATING THE CALL TO ALL OTHER PARTIES AND
                             ADDING THE COURT JUDGE AT (____)
                             ___________________; OR

                                           BY TELEPHONE, WITH COUNSEL
                             CALLING THE JUDGE'S STAFF AT (____)
                             ___________________;




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                    NON-EXPERT AND LIABILITY DISCOVERY COMPLETED BY 9/12/2025
                x
                    DISPOSITIVE MOTIONS FILED BY 11/12/2025______________

           Upon approval, this Plan constitutes an Order of the Court. Failure to comply with an
  Order of the Court may result in sanctions for contempt, or as provided under Fed. R. Civ. P. 16-
  1(f), to and including dismissal or default.

          APPROVED AND SO ORDERED.


       Date: 5/12/2025




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